                                                                               Case 3:14-cr-00175-WHA Document 1019 Filed 02/25/19 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   UNITED STATES OF AMERICA,
                                                                         10                                                                 No. CR 14-00175 WHA
                                                                                             Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                            REQUEST FOR ATTORNEYS
                               For the Northern District of California




                                                                         12   PACIFIC GAS AND ELECTRIC                                      PITRE AND CAMPORA
                                                                         13   COMPANY,                                                      TO RESPOND

                                                                         14                  Defendant.
                                                                                                                           /
                                                                         15
                                                                         16          On February 22, PG&E responded to the submission of Attorneys Pitre and Campora

                                                                         17   (Dkt. No. 1015). By MARCH 1 AT NOON, Attorneys Pitre and Campora shall please comment

                                                                         18   on the factual accuracy of PG&E’s response, as well as on the accuracy of PG&E’s estimate

                                                                         19   that in 2015 the percentage of trees in contact with the lines causing outages was approximately

                                                                         20   0.0017 percent of all trees with the potential to contact the lines, and that therefore the

                                                                         21   percentage used in Janaize Markland’s testimony to the CPUC overstated the prevalence of tree

                                                                         22   contact outages.

                                                                         23
                                                                         24          IT IS SO ORDERED.

                                                                         25
                                                                         26   Dated: February 25, 2019.
                                                                                                                                         WILLIAM ALSUP
                                                                         27                                                              UNITED STATES DISTRICT JUDGE

                                                                         28
